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6                         UNITED STATES DISTRICT COURT

7                        EASTERN DISTRICT OF CALIFORNIA

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10   THE NATIONAL GRANGE OF THE           No. 2:14-cv-676 WBS DB
     ORDER OF PATRONS OF
11   HUSBANDRY,

12                 Plaintiff,             ORDER
13        v.

14   CALIFORNIA GUILD, formerly
     doing business as “California
15   Stage Grange,”

16                 Defendant.

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19              On October 4, 2018, plaintiff filed a memorandum of
20   costs after judgment, acknowledgment of credit, and declaration
21   of accrued interest.     (Docket No. 269.)     The only documentation
22   accompanying that filing is a state court form.         The court cannot
23   discern what, if anything, plaintiff asks this court to do.
24   Therefore, absent a motion, the court will ignore that filing.
25              IT IS SO ORDERED.
26   Dated:    October 22, 2018
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